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     Entertainment LLC
11
                          UNITED STATES DISTRICT COURT
12
                       NORTHERN DISTRICT OF CALIFORNIA
13
                                  SAN FRANCISCO DIVISION
14
15
16
17   FEDERAL TRADE COMMISSION,                   Case No. 3:23-cv-02880-JSC
18                   Plaintiff,
19         v.                                    NON-PARTY SONY
     MICROSOFT CORP., et al.,                    INTERACTIVE
20
                                                 ENTERTAINMENT LLC’S
21                   Defendants.                 NOTICE OF MOTION AND
                                                 THIRD ADMINISTRATIVE
22
                                                 MOTION FOR SEALING AND
23                                               IN CAMERA TREATMENT
24
25                                               The Honorable Jacqueline Scott
                                                 Corley
26
27
                                           -1-
28                     NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
                NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
                                  AND IN CAMERA TREATMENT
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1    TO ALL PARTIES AND THEIR RESPECTIVE COUNSEL OF RECORD:
2          PLEASE TAKE NOTICE THAT non-party Sony Interactive Entertainment
3    LLC (“SIE”) will, and hereby does, move this Court to seal from public disclosure
4    and permit in camera treatment of Plaintiff Federal Trade Commission’s (“FTC’s”)
5    Direct Testimony of Robin S. Lee, PHD, certain exhibits appearing on its Exhibit
6    List, and certain deposition designations by the Parties.
7                                  REQUESTED RELIEF
8          SIE requests that the Court seal from public disclosure and permit in camera
9    treatment of the material identified in the table below.
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                       NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28              NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
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1    I.    INTRODUCTION
2          Non-Party Sony Interactive Entertainment LLC (“SIE”) requests that this
3    Court seal from public disclosure and permit in camera treatment of limited, highly
4    sensitive business material. SIE understands that the information at issue here may
5    be introduced into evidence in this proceeding.
6          SIE produced voluminous material in discovery in the underlying Federal
7    Trade Commission proceeding pursuant to a strict protective order that prevented
8    public disclosure. In the Matter of Microsoft / Activision Blizzard, FTC Docket No.
9    9412 (“FTC Action”). This material includes some of SIE’s most sensitive
10   business planning, pricing, strategy, and otherwise sensitive information. Good
11   cause exists for sealing and providing in camera treatment to protect SIE’s
12   legitimate confidentiality interests. In recognition of the public nature of these
13   proceedings, SIE has made a good faith effort to limit its request to the most
14   sensitive material.
15   II.   BACKGROUND
16         On June 19, 2023, the Parties provided preliminary notices to SIE identifying
17   the documents produced by SIE in the underlying FTC Action that the Parties may
18   introduce into evidence during the evidentiary hearing in this matter. On June 21,
19   SIE filed a motion requesting sealing and in camera treatment for certain
20   documents on the Parties’ exhibit lists. (ECF No. 172). On June 21 and 22, the
21   Parties notified SIE that they intended to designate deposition testimony for use at
22   the Hearing. On June 22, SIE filed a motion requesting sealing and in camera
23   treatment for certain portions of the designated testimony (ECF No. 195), and the
24   Court ruled on the disputed portions of SIE’s motion on June 23. This motion
25   addresses one additional excerpt from the previously noticed deposition
26   designations that SIE inadvertently omitted from its motion requesting sealing and
27                                            -3-
                        NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28               NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
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1    in camera treatment for certain portions of the designated testimony (ECF No. 195)
2    in the extremely compressed timeframe in which SIE had to review.
3          On June 25, 2023, the FTC provided notice to SIE that it intended to submit a
4    declaration by its expert witness Robin S. Lee, Ph.D. (“Expert Declaration”) in lieu
5    of conducting a live direct examination. This motion addresses the material in the
6    Expert Declaration that SIE seeks to protect from public disclosure.
7          On June 26, 2023, the Parties each notified SIE that they intended to
8    designate additional deposition testimony for use at the Hearing. Defendant
9    Microsoft Corp. further notified SIE that it intended to supplement its exhibit list.
10   This motion addresses the portions of the newly designated testimony and
11   supplemental exhibit that SIE seeks to protective from public disclosure.
12         The material SIE seeks to product contains competitively sensitive non-
13   public information that would injure SIE if made publicly available. The table
14   below describes the SIE confidential material found in these documents and the
15   specific bases supporting sealing of the information. See Civ. L.R. 79-5(c). The
16   proposed treatment noted in the table reflects SIE’s good faith effort under
17   expedited circumstances to seek the sealing only of information that is confidential,
18   commercially or competitively-sensitive, and cannot be protected from public
19   disclosure through less restrictive means. SIE makes this request pursuant to Civil
20   Local Rules 7-11 and 79-5.
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27                                            -4-
                        NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28               NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
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1
2                     Portion of
                    Document for
3                                      Description of Confidential Information
      Document     which In Camera
                                          Requiring In Camera Treatment
4                    Treatment
                     Requested
5
     Expert        Footnote 11        This material contains non-public and
6
     Declaration                      highly sensitive information including, but
7                  Redactions         not limited to, SIE’s business strategies,
                   provided to        competitive business plans, future
8                  parties            investment plans, console and product
9                                     development plans, product roadmaps, or
                                      innovation plans, as well as analysis of
10
                                      consumer switching behavior.
11
12   Expert        Paragraph 26 &     This material contains non-public and
     Declaration   Footnote 13        highly sensitive information including, but
13
                                      not limited to, SIE’s business strategies,
14                 Redactions         competitive business plans, future
                   provided to        investment plans, console and product
15                 parties            development plans, product roadmaps, or
16                                    innovation plans, as well as analysis of
                                      consumer switching behavior.
17
18
     Expert        Paragraph 29       This material contains non-public and
19   Declaration                      highly sensitive information including, but
                   Redactions         not limited to, SIE’s approach to contract
20                 provided to        negotiations with third-party partners and
21                 parties            discussions of particular contract terms
22                                    with particular partners.

23
     Expert        Paragraph 30
24   Declaration                      This material contains non-public and
                   Redactions         highly sensitive information including, but
25                 provided to        not limited to, SIE’s approach to contract
26                 parties            negotiations with third-party partners and
27                                       -5-
                     NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28            NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
                                AND IN CAMERA TREATMENT
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1                                     discussions of particular contract terms
                                      with particular partners.
2
3    Expert        Paragraph 34 &     This material contains non-public and
4    Declaration   Footnote 28        highly sensitive information including, but
                                      not limited to, SIE’s business strategies,
5                  Redactions         competitive business plans, future
                   provided to        investment plans, console and product
6
                   parties            development plans, product roadmaps, or
7                                     innovation plans, as well as analysis of
8                                     SIE’s competitors’ products and behavior.
9
     Expert        Paragraph 44       This material contains non-public and
10   Declaration                      highly sensitive information including, but
                   Redactions         not limited to, SIE data, analysis, and
11
                   provided to        survey results relating to SIE product
12                 parties            strategy and platform users’ behavior on
13                                    SIE’s platform, including user engagement,
                                      gameplay, spend, likelihood of switching,
14                                    or potential competitive impacts of
15                                    Microsoft’s proposed acquisition of
                                      Activision.
16
17   Expert        Paragraph 64 &     This material contains non-public and
18   Declaration   Footnote 47        highly sensitive information including, but
                                      not limited to, SIE’s business strategies,
19                 Redactions         competitive business plans, future
20                 provided to        investment plans, console and product
                   parties            development plans, product roadmaps, or
21                                    innovation plans, as well as analysis of
22                                    SIE’s competitors’ products and behavior.
23
     Expert        Paragraph 65       This material contains non-public and
24
     Declaration                      highly sensitive information including, but
25                                    not limited to, SIE’s business strategies,
                                      competitive business plans, future
26
                                      investment plans, console and product
27                                       -6-
                     NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28            NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
                                AND IN CAMERA TREATMENT
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1                                     development plans, product roadmaps, or
                                      innovation plans, as well as analysis of
2                                     SIE’s competitors’ products and behavior.
3
4    Expert        Paragraph 71 &     This material contains non-public and
     Declaration   Footnote 56        highly sensitive information including, but
5                                     not limited to, SIE data, analysis, and
                   Redactions         survey results relating to SIE product
6
                   provided to        strategy and platform users’ behavior on
7                  parties            SIE’s platform, including user engagement,
8                                     gameplay, spend, likelihood of switching,
                                      or potential competitive impacts of
9                                     Microsoft’s proposed acquisition of
10                                    Activision.

11
     Expert        Footnote 77        This material contains non-public and
12   Declaration                      highly sensitive information including, but
                   Redactions         not limited to, SIE data, analysis, and
13
                   provided to        survey results relating to SIE product
14                 parties            strategy and platform users’ behavior on
15                                    SIE’s platform, including user engagement,
                                      gameplay, spend, likelihood of switching,
16                                    or potential competitive impacts of
17                                    Microsoft’s proposed acquisition of
                                      Activision.
18
19   Expert        Paragraph 104      This material contains non-public and
20   Declaration                      highly sensitive information including, but
                   Redactions         not limited to, SIE data, analysis, and
21                 provided to        survey results relating to SIE product
22                 parties            strategy and platform users’ behavior on
                                      SIE’s platform, including user engagement,
23                                    gameplay, spend, likelihood of switching,
24                                    or potential competitive impacts of
                                      Microsoft’s proposed acquisition of
25                                    Activision.
26
27                                       -7-
                     NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28            NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
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1    Expert        Paragraph 109        This material contains non-public and
2    Declaration                        highly sensitive information including, but
                   Redactions           not limited to, SIE data, analysis, and
3                  provided to          survey results relating to SIE product
4                  parties              strategy and platform users’ behavior on
                                        SIE’s platform, including user engagement,
5                                       gameplay, spend, likelihood of switching,
6                                       or potential competitive impacts of
                                        Microsoft’s proposed acquisition of
7                                       Activision.
8
9    Expert        Paragraph 110        This material contains non-public and
     Declaration                        highly sensitive information including, but
10                 Redactions           not limited to, SIE data, analysis, and
11                 provided to          survey results relating to SIE product
                   parties              strategy and platform users’ behavior on
12
                                        SIE’s platform, including user engagement,
13                                      gameplay, spend, likelihood of switching,
                                        or potential competitive impacts of
14
                                        Microsoft’s proposed acquisition of
15                                      Activision.
16
     Expert        Paragraph 150 &      This material contains non-public and
17
     Declaration   Footnotes 117-       highly sensitive information including, but
18                 118                  not limited to, SIE’s business strategies,
19                                      competitive business plans, future
                   Redactions           investment plans, console and product
20                 provided to          development plans, product roadmaps, or
                   parties to parties   innovation plans, as well as analysis of
21
                                        SIE’s competitors’ products and behavior.
22
23   Expert        Footnote 133         This material contains non-public and
24   Declaration                        highly sensitive information including, but
                   Redactions           not limited to, SIE’s business strategies,
25                 provided to          competitive business plans, future
                   parties              investment plans, console and product
26
                                        development plans, product roadmaps, or
27                                         -8-
                     NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28            NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
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1                                            innovation plans, as well as SIE business
                                             analysis of competitor behavior and
2                                            products.
3
4        PX31101        Redacted copy        This material contains non-public and
                        provided to          highly sensitive information including, but
5                       parties              not limited to, SIE’s approach to contract
6                                            negotiations with third-party partners and
                                             discussions of particular contract terms
7                                            with particular partners. It further includes
8                                            non-public information on the nature and
                                             scope of SIE’s technical collaboration with
9                                            particular publishers.
10
11       PX70532        Redactions: Dep.     This material contains non-public and
                        Tr.                  highly sensitive information including, but
12                                           not limited to, SIE’s business strategies,
                        37:8-14              competitive business plans, future
13
                                             investment plans, console and product
14                      115:25-117:17
                                             development plans, product roadmaps, or
15
16   1
         SIE previously requested to seal this document in its entirety (ECF No. 172). The
17
     Court requested that SIE re-review this document to determine whether portions of
18
     it could be made public. The Court agreed that the November 11, 2022 email and
19
     the attachments could remain redacted in their entirety, but asked that SIE consider
20
     the other portions of the document for public disclosure. After further review, SIE
21
     requests that one additional portion of the December 23, 2022 email be redacted
22
     because it discloses the terms under confidential negotiation between SIE and
23
     Microsoft.
24   2
         SIE’s request for sealing and confidential treatment related to this document
25
     supplements its earlier motions for sealing and confidential treatment (ECF Nos.
26
     172 & 195).
27                                              -9-
                          NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28                 NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
                                     AND IN CAMERA TREATMENT
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1                       219: 2-4            innovation plans, as well as analysis of
                                            SIE’s competitors’ products and behavior.
2                       219: 7-13
3                       229:18-20
4
5        PX70543        Redactions: Dep.    This material contains non-public and
                        Tr.                 highly sensitive information including, but
6                                           not limited to, SIE’s business strategies,
                        62:25-63:6          competitive business plans, future
7
                                            investment plans, console and product
8                       63:24-64:2
                                            development plans, product roadmaps, or
9                                           innovation plans, as well as analysis of
                                            SIE’s competitors’ products and behavior.
10
11       RX2073         Redacted copy       This material contains non-public and
12                      provided to         highly sensitive information including, but
                        parties             not limited to, SIE’s business strategies,
13                                          competitive business plans, future
14                                          investment plans, console and product
                                            development plans, product roadmaps, or
15                                          innovation plans, as well as analysis of
16                                          SIE’s competitors’ products and behavior.
17
18   II.      THERE ARE COMPELLING REASONS TO SEAL SIE’S
19            CONFIDENTIAL BUSINESS INFORMATION AND PROVIDE FOR
20            IN CAMERA TREATMENT
21
22   3
         SIE’s request for sealing and confidential treatment related to this document
23
     supplements its earlier motions for sealing and confidential treatment (ECF Nos.
24
     172 & 195). The Parties have since designated additional excerpts for use at the
25
     preliminary injunction hearing and the redactions requested here relate to those
26
     newly-designated passages.
27                                             - 10 -
                          NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28                 NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
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1          Although the public enjoys a general right to inspect and copy public records,
2    including judicial records, “access to judicial records is not absolute.” Kamakana v.
3    City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006). The presumption in
4    favor of access to judicial records may be overcome by “compelling reasons” that
5    justify sealing them, such as the need to prevent court filings from serving as “sources
6    of business information that might harm a litigant’s competitive standing.” Ctr. for
7    Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016) (quoting
8    Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598-99 (1978)). Courts have broad
9    discretion to prevent disclosure of “many types of information, including, but not
10   limited to, trade secrets or other confidential research, development, or commercial
11   information.” Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206,
12   1211 (9th Cir. 2002). Specifically, if revealing “confidential business material,
13   marketing strategies, [and] product development plans could result in improper use
14   by business competitors seeking to replicate [the company’s] business practices and
15   circumvent the time and resources necessary in developing their own practices and
16   strategies,” a court may seal the materials in question. Roley v. Google LLC, No. 18-
17   cv-07537-BLF, 2020 WL 13517498, at *1 (N.D. Cal. Apr. 28, 2020) (quoting
18   Algarin v. Maybelline, LLC, No. 12CV3000 AJB DHB, 2014 WL 690410, at *3 (S.D.
19   Cal. Feb. 21, 2014)).
20         Non-parties receive special deference when these issues are considered. See,
21   e.g., United States v. Bazaarvoice, Inc., No. 13-cv-00133-WHO, 2014 WL
22   11297188, at *1 (N.D. Cal. Jan. 21, 2014) (granting motion to seal third-party trial
23   exhibits, noting that disclosure would “chill investigations in the future where third
24   party documents are essential”).
25         In camera review of sealed material is an appropriate means for the Court to
26   protect these important interests. See United States v. Bazaarvoice, Inc., No. 13-cv-
27                                            - 11 -
                        NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28               NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
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1    00133-WHO, 2014 WL 203966 (N.D. Cal. Jan. 8, 2014) (citing throughout to
2    exhibits reviewed in camera in merger trial).
3             Here, Non-Party SIE seeks sealing and in camera treatment for limited non-
4    public information containing SIE’s highly confidential analyses and business
5    strategy information related to its consoles, subscription services, and cloud gaming
6    businesses. See Ex. 1 (Decl. of C. Svensson).4 In particular, SIE seeks to protect:
7          • Non-public SIE data, analysis, and survey results relating to SIE product
8             strategy and platform users’ behavior on SIE’s platform, including user
9             engagement, gameplay, spend, likelihood of switching, or potential
10            competitive impacts of Microsoft’s proposed acquisition of Activision;
11         • Non-public information about SIE’s approach to contract negotiations with
12            third party partners and discussions of particular contract terms with
13            particular partners;
14         • Non-public information on the nature and scope of SIE’s technical
15            collaboration with particular publishers;
16         • Non-public information about SIE’s business strategies, competitive business
17            plans, future investment plans, console and product development plans,
18            product roadmaps, innovation plans; and
19         • Non-public SIE business analysis regarding competitors’ and commercial
20            partners’ behavior and products. See id. ¶ 3.
21
22
23   4
      The Declaration of Christian Svensson was previously submitted at ECF 172-1 in
24   conjunction with Non-Party SIE’s Administrative Motion for Sealing and In
     Camera Treatment (ECF 172). The competitively sensitive issues in today’s
25   request are the same as those addressed in the Declaration previously submitted, as
26   explained in the chart above, and Mr. Svensson’s Declaration is resubmitted here as
     Exhibit 1.
27                                          - 12 -
                          NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28                 NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
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1           SIE uses this information to operate its business and shape its future strategy.
2    As explained in the accompanying declaration, if these business secrets were made
3    available to the public, SIE’s competitors could use these secrets to inform their own
4    strategies to gain an unfair advantage in competing with SIE. See id. ¶¶ 4-8. Business
5    partners could likewise gain an unfair advantage in their relationships with SIE by
6    understanding SIE’s strategic objectives, negotiation tactics, and relationships with
7    other business partners. See id.. These concerns are particularly severe here, as the
8    information is current, which makes it more valuable to others because it is
9    actionable. See id. ¶ 8.
10          In short, the information should be sealed because disclosure would undermine
11   SIE’s business, give competitors and business partners an unfair advantage, and
12   disrupt the future launches of its commercial products. See Ex. 1 (Decl. of C.
13   Svensson); see also Synchronoss Techs., Inc. v. Dropbox Inc., No. 16-cv-00119-
14   HSG, 2018 WL 6002319, at *1 (N.D. Cal. Nov. 15, 2018) (noting that courts have
15   sealed confidential business information when it “prevent[ed] competitors from
16   gaining insight into the parties’ business model and strategy”) (citation omitted);
17   Bauer Bros. LLC v. Nike, Inc., No. 09cv500-WQH-BGS, 2012 WL 1899838, at *2
18   (S.D. Cal. May 24, 2012) (concluding that “public disclosure of Nike’s confidential
19   business materials . . . could result in improper use by business competitors seeking
20   to replicate Nike’s business practices and circumvent the considerable time and
21   resources necessary in product and marketing development”).
22   III.   THE COMPELLING REASONS TO SEAL OUTWEIGH ANY
23          PUBLIC INTEREST IN PUBLIC DISCLOSURE
24          SIE’s request for sealing and in camera treatment is the result of its good faith
25   effort to seek the sealing only of information that is confidential, commercially or
26   competitively-sensitive, and cannot be protected from public disclosure through less
27                                            - 13 -
                        NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28               NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
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1    restrictive means. SIE has proposed redactions over sealing where possible, and has
2    endeavored to propose the narrowest possible redactions in the time permitted. Any
3    public interest in disclosing this information is outweighed by the prejudice that will
4    result to SIE, a non-party, if no protection is granted. See Bazaarvoice, Inc., 2014
5    WL 11297188, at *1 (noting importance of protecting third parties).
6    IV.   CONCLUSION
7          For the foregoing reasons, SIE respectfully requests that the Court grant
8    SIE’s motion and seal and review in camera the SIE confidential information
9    contained in the materials identified above, in the event that the Parties introduce
10   them at the upcoming hearing.
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27                                           - 14 -
                       NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
28              NOTICE OF MOTION AND THIRD ADMINISTRATIVE MOTION FOR SEALING
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1    Dated:     June 26, 2023
2
                                            Respectfully submitted,
3
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4                                           HAMILTON LLP
5                                           /s/ Elsbeth Bennett
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9                                           lmalm@cgsh.com
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14
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15                                          Entertainment LLC
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27                                      - 15 -
                     NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S
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